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                      EXHIBIT 4
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Message
From:         Steve Arnall [sarnall@capitalagroup.com]
Sent:         12/9/2015 9:37:15 AM
To:           Kevin Koonts [KKoonts@capitalagroup.com]
Subject:      FW: Lazard feedback/ placement agent update


Keeping you in the loop


Stephen A. Arnall
Capitala Group
704-936-4930

From: Richard Wheelahan

To: Joe Alala III
Sent: Wednesday, December 09, 2015 9:33 AM

Cc: Casey Swercheck; Steve Arnall
Subject: RE: Lazard feedback/ placement agent update

Joe - I wanted to follow this side conversation regarding reaching out to Sandler with a brief update.

On Thursday, Steve and I briefly caught up with Tom about our expectations for a prospective engagernent and our goals
with respect to the PCF raise, in order for Tom to discuss the opportunity internally. Yesterday, Steve, Tom and I
discussed those same criteria with Bob Kleinert, so that Bob can determine (with his committee) the degree to which SO
is confident in its ability to meet our objectives. So far, they understand that we are seeking a proposal whereby (a)
Sandler raises a $500 PCF, as outlined on slide 1.0 of the most recently-revised deck, their fees are not only in line with
other placement agents, but that they understand (i) the fund's fee structure is designed to avoid a J-curve, and (ii)
neither the manager nor the fund are interested in heavily subsidizing the payment of the placement agency fee,
upfront, prior to the receipt of sufficiently offsetting management fees from the fund, (b) that they are to find an anchor
and (c) that we don't expect that most of our investor base will translate to significant commitments for this product.

We've asked for their views by early next week. Steve and I will update you as soon as we have that f eedback.

Richard

Richard G. Wheelahan Ill
Capitala Group

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authorized to receive for the intended addressee), you may not use, copy or disdose to anyone the message or any
information contained in the message. If you have received the message in error, please advise the sender by reply at
rwheelahan@capitalagroup.com and delete the message.

From: Joe Alala Ill
Sent: Tuesday, December 1, 2015 1:19 PM
To: Richard Wheelahan <rwheelahan@capitalsouthpartners.com>
Cc: Casey Swercheck <Casey@capitalagroup.com>
Subject: Re: Lazard feedback/ placement agent update

You can but I do not believe they have a realistic solution for a private fund raise. Especially at mkt placement agent
fees.

They are used to 4% and 6% fees on raises and have never raised a private credit fund



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